Case 1:23-cv-03721-SCJ Document 1-169 Filed 08/21/23 Page 1 of 25




                  EXHIBIT B-157
      Case 1:23-cv-03721-SCJ Document 1-169 Filed 08/21/23 Page 2 of 25




                    IN THE SUPERIOR COURT OF FULTON COUNTY
                                                                             ,-----------,
                                                                                FILED IN OFFICE
                                     STA TE OF GEORGIA


INRE:                                         )                                DEPUTY CLERK SUPERIOR COURT
                                                                                    FULTON COUNTY, GA
SPECIAL PURPOSE GRAND JURY                    )       2022-EX-000024
                                              )
                                              )       Judge Robert C. I. McBurney
                                              )


                             STATE'S RESPONSE TO MOTIONS


        On March 20, 2023, former President Donald J. Trump filed a Motion in this matter seeking

several forms of relief. Presenting a variety of arguments, the Motion I ultimately requested that

the final report of the Fulton County Special Purpose Grand Jury 2 be "quashed and expunged from

the record"; that all of the evidence "derived from" the SPGJ be suppressed in any future

proceedings; and that the Fulton County District Attorney's Office 3 be disqualified from "any

further investigation and/or prosecution of this matter or any related matter derived from their use

of the SPGJ." Mtn. at 51. On April 28, 2023, Cathleen A. Latham filed a Motion adopting or

joining the original Motion. Mrs. Latham's own Motion added a request for an injunction which

would quash "the SPGJ actions" in their entirety, enjoin any State entity from "presenting or




1
  While two Movants have submitted Motions in this matter, this response will refer to the first,
Mr. Trump's, as "the Motion" throughout. Citations to the Motion will read as "Mtn. at [page]" or
"Mtn., Exhibit [number]." The second, filed by Mrs. Cathleen A. Latham, will be referred to as
the "Latham Motion" where applicable. Citations to the Latham Motion will read as "Latham Mtn.
at [page]." This response will refer to the two parties who have brough these Motions as "Movants"
or "the Movants" throughout. Where it is necessary to distinguish between the two Movants, this
response will refer to them by their names.
2
  This response will refer to the Special Purpose Grand Jury as "SPGJ'' or "the SPGJ" throughout.
3
  This response will refer to the Fulton County District Attorney's Office as "FCDAO" or "the
FCDAO" throughout. Where it is necessary to discuss the District Attorney as an individual, this
response will refer to her as "the District Attorney."
        Case 1:23-cv-03721-SCJ Document 1-169 Filed 08/21/23 Page 3 of 25




utilizing any evidence or testimony derived by the SPGJ," and disqualify the FCDAO from any

further involvement in the matter. Latham Mtn. at 5-6. Both Motions requested a hearing, and also

that this matter be reassigned or transferred to another judge for their consideration. This Court

thereafter provided an order outlining a schedule for the State's response and asked that the

FCDAO specifically address whether the matter should be heard by another judge, as well as

whether a hearing should be held.

         The State now responds that the Motions should be dismissed or denied as appropriate.

The Movants advance constitutional arguments for which they have no standing and which fail to

demonstrate the unconstitutionality of pertinent statutes. They request that the FCDAO be

disqualified on grounds which fail to meet the exacting standards for prosecutorial disqualification

under Georgia law, and also by repeating prior unsuccessful arguments or adopting standards

which do not apply. They refer vaguely to violations of their own due process rights arising from

a "tainted" grand jury process without making a showing demonstrating the existence of either.

Overall, the Motions are procedurally flawed and advance arguments that lack merit, and the State

respectfully requests that this Court retain supervisicm of this matter and dismiss or deny the

Motions as appropriate without a hearing.

   I.       Because the Movants do not provide any standard or basis for the transfer of this
            matter to another judge, this Court should retain supervision of this matter and
            deny the Motions without a hearing.

         As an initial matter, the Movants request that their Motions not be heard by this Court,

instead preferring that they be heard by either the Chief Judge or another Fulton County Superior

Court judge. The Movants do not clarify a standard for assessing the request for a transfer to

another judge, citing neither the Code of Judicial Conduct, the Superior Court Rules, nor any

statute or other provision. The Motion states only that this Court's "nexus to certain aspects of the

SPGJ and the subsequent drafting of the report, in combination with his prior rulings" require a


                                                 2
      Case 1:23-cv-03721-SCJ Document 1-169 Filed 08/21/23 Page 4 of 25




transfer. Mtn. at 10. The grounds for this request appear to be twofold. First, the Movants disagree

with this Court's "improper application of the law," specifically its rulings regarding the criminal

nature of the SPGJ and the disqualification of the FCDAO. Second, the Movantsargue that certain

comments made by the Court during oral argument in 2022 were improper. Because these

arguments lack merit, and neither establishes an appropriate basis for the transfer of this matter to

a different judge, the District Attorney respectfully asserts that there are no grounds for another

judge to hear these Motions. 4

        The first basis for transfer offered by the Movants is without merit because disagreement

or criticism of a judge's prior rulings does not furnish a litigant with a basis for having subsequent

motions heard by a different judge. The second basis provided by the Movants concerns comments

made by this Court during oral arguments made during 2022 (Mtn. at 48-50), but it is not clear

what impact, if any, the comments could have had upon the Movants. Certainly, these comments,

which appear to relate to witnesses' possible assertion of Fifth Amendment rights before the SPGJ,

have nothing at all to do with Mr. Trump, as they were not made about him or any aspect of SPGJ

administration that involved him. Mrs. Latham joins and adopts Mr. Trump's Motion but does not

clarify how any comments concerning the possible assertion of Fifth Amendment rights before the

SPGJ actually affected her. The Movants argue only that this Court's comments could have

possibly affected the grand jurors' understanding of certain witnesses' assertion of their Fifth

Amendment rights and that, as a result, non-witnesses were also negatively affected. Mtn. at 50.




4
 The Motion also criticizes this Court's denial of certificates of immediate review in two instances.
Mtn. at 10; 19 n.13; 24. Such decisions are subject to a judge's "unfettered discretion" and "carte
blanche authority." Duke v. State, 306 Ga. 171, 178-79 (3)(a)(2019). The Motion clarifies that the
Movants disagreed with this Court's decisions in those instances, both substantively and
procedurally, but it does not articulate how the denials amount to judicial impropriety or why they
might support the transfer of this matter to another judge.


                                                  3
     Case 1:23-cv-03721-SCJ Document 1-169 Filed 08/21/23 Page 5 of 25




Movants refer generally to the Court's comments "violating the rights of' witnesses as well as "all

parties impacted by the investigation, including [Movants]." Id. The Motion then combines this

Court's comments with other arguments they make regarding the application of the Fifth

Amendment within the SPGJ (addressed herein in Part IV) and asserts that together these

demonstrate a "flawed process" requiring the quashal of any evidence obtained by the SPGJ "in

violation of the rights of witnesses and non-parties alike." Id. The Movants argue the SPGJ was a

"constitutionally unsound investigation" whose impartiality cannot be trusted by the public and

whose report "will negatively impact the due process rights of the named individuals." Mtn. at 48.

       This Court should deny the Movants' request on these grounds for quashal of evidence

obtained by the SPGJ. The Movants' vague and sweeping assertions of due process violations lack

a basis in law or in fact. They provide no authority demonstrating how such comments could be

fundamentally unfair to them. This Court's comments, made .in the midst of extensive oral

argument, are too isolated and too far removed from any possible impact upon the Movants' rights.

It cannot suffice to assert that the comments might have been heard by the grand jurors, who as a

result might have altered their understanding of the. Fifth Amendment, which might in tum have

affected their evaluation of certain witnesses, and which thus might have altered or "tainted" the

report, which in tum might somehow negatively affect the Movants.

       Because these arguments are far too attenuated to support any claim of a due process

violation for either Movant, this Court should deny the Movants' request for quashal as presented

in Part VI of the Motion. As a result, this Court should also deny the Movants' request that their

Motions be heard by another judge, particularly because they do not articulate any sort of standard

for this Court's evaluation of their request. Finally, this Court should also deny the Movants'

request for a hearing. The Movants' arguments are purely legal and do not raise any factual dispute




                                                4
        Case 1:23-cv-03721-SCJ Document 1-169 Filed 08/21/23 Page 6 of 25




requiring resolution in a hearing. The original Motion attaches hundreds of pages of exhibits

containing statements, transcripts, and prior orders of this Court, and there is no factual matter that

will be further developed by a hearing. As will be shown below, most of the Movants' arguments

are barred by lack of standing, untimeliness, and other procedural flaws, and any remaining

arguments are without merit. There are simply no matters requiring resolution by this Court that

require or warrant a hearing. As a result, in compliance with the instructions of this Court, the

District Attorney respectfully requests that this Court deny the Movants' request for a hearing and

rule upon these Motions on the basis of the papers.

      II.      The statutes concerning special purpose grand juries are not unconstitutional.

            The Movants argue that the statutory scheme defining and governing special purpose grand

juries is unconstitutional.5 They assert that the statutes are both unconstitutionally vague (Mtn. at

15-21) and unconstitutional as applied in this matter (Mtn. at 21-31). Because the Movants fail to

demonstrate a cognizable, individualized injury and therefore lack standing, their constitutional

challenges should be dismissed. To the extent that the Court evaluates the substance of their

challenges, the Movants' arguments fail to demonstrate either vagueness or as-applied

constitutional concerns, and their Motions should be denied.

      A. Standing

            The Georgia Supreme Court recently engaged in close examination of the nature of

standing under the Georgia Constitution. In so doing, the Court reaffirmed a basic and

longstanding tenet of jurisprudence: in order to have standing to challenge the constitutionality of

a statute, a citizen must demonstrate an "individualized injury" or "injury-in-fact." "We have long

held that Georgia courts may not decide the constitutionality of statutes absent an individualized



5
    These statutes include O.C.G.A. §§ 15-12-100, 15-12-101, and 15-12-102.


                                                   5
      Case 1:23-cv-03721-SCJ Document 1-169 Filed 08/21/23 Page 7 of 25




injury to the plaintiff ... This kind of individualized injury seems similar to the injury-in-fact

required federally ... nothing in this opinion should be understood to undermine in any way our

longstanding case law articulating this requirement." Sons of Confederate Veterans v. Henry

County Bd. Of Comm 'rs, 315 Ga. 39, 54 n.13 (2022) (collecting cases). "Standing to challenge a

statute on constitutional grounds in Georgia depends on a showing that the plaintiff was injured in

some way by the operation of the statute or that the statute has had an adverse impact on the

plaintiffs rights." Mason v. Home Depot U.S.A., Inc., 283 Ga. 271, 273 (1) (2008) (citations

omitted). Even in the possibly more permissive context of First Amendment challenges (which the

Movants do not make here), litigants cannot "make facial attacks upon entire statutory schemes

and provisions by which they were not harmed 'as applied' or harmed by 'running afoul' of the

provision." Granite State Outdoor Adver., Inc. v. City of Roswell, 283 Ga. 417, 421 (1) (2008).

       Neither of the Movants can satisfy the standing requirements articulated by the Georgia

Supreme Court. Their arguments reveal no individualized injury or injury-in-fact. Instead, the

Movants submit arguments that, if anything, argue that certain other parties may have standing to

challenge the special purpose grand jury statutes. The Movants only arrive at an injury to

themselves through a daisy chain of cause and effect: if other parties could articulate individualized

injuries to themselves, this could affect the administration of the grand jury or the creation of its

final report. If the final report is affected, it is possible that individuals named in the report could

be affected. If the Movants are among the individuals named in the report, then their due process

rights could possibly be injured. The individualized injury requirement prevents exactly this kind

of attenuation.

       The Movants' explanations for their own standing are disconnected from the actual

arguments they provide in support of a finding of unconstitutionality. Mr. Trump asserts that he




                                                   6
      Case 1:23-cv-03721-SCJ Document 1-169 Filed 08/21/23 Page 8 of 25




has been "inextricably intertwined with this investigation since its inception" in early 2021, also

observing that he participated in the event which precipitated the investigation, a phone call in

January of 2021. Mtn. at 11. However, as he acknowledges, he was never a witness before the

SPGJ. Mrs. Latham suggests that she has standing because she was identified as a "target" of the

investigation. 6 Latham Mtn. at 2. She, too, never testified. Despite this, nearly all of the grounds

identified by the Movants for challenging the constitutionality of the statutes involve their

application to, and effects upon, the rights of actual witnesses. See Mtn. at Part III.A.i, Part III.B,

Part III.C. The only remaining grounds identified by the Movants address vagueness as to the

administration of the SPGJ and the issuance of its final report. See Mtn. at Part III.A.ii. Even if a

party is named in a SPGJ final report, that does not mean the party is injured by the statute

describing the report's creation. If the statutes were vague in the regards suggested, the parties

suffering actual injury would be the supervising judge and the grand jurors, who would be left

without guidance as to how they should govern themselves in discharging their duties under the

law. Because the Movants' arguments do not demonstrate individualized injuries or injuries-in-

fact rather than injuries-in-conjecture, they lack standing to challenge the constitutionality of the

pertinent statutes.

        B. Vagueness

        The Movants argue that the statutes governing special purpose grand juries are

unconstitutionally vague in two ways: because they do not specify whether the nature of SPGJs is

civil, criminal, or both; and because the statutes are vague about the "contents and release" of the

SPGJ's final report. Neither argument is persuasive.




6
 As discussed below, being named as a "target" does not alter one's rights before a special purpose
grand jury, particularly when one does not testify before such a grand jury.


                                                  7
     Case 1:23-cv-03721-SCJ Document 1-169 Filed 08/21/23 Page 9 of 25




       Beginning with the "nature" of SPGJs, O.C.G.A § 15-12-lO0(a) is clear that, similarly to

"regular" grand juries, SPGJs are authorized to investigate "any alleged violation of the laws of

this state or any other matter subject to investigation by grand juries as provided by law." The

authorization is clearly broad, but just because a statute is broad does not mean that it is vague. It

follows, naturally, that if regular grand juries are authorized to investigate both civil and criminal

matters, then a SPGJ is as well. In State v. Lampl, 296 Ga. 892, 895-96 (1) (2015), the Supreme

Court acknowledged that SPGJs can investigate criminal matters. Lampl also established that a

SPGJ is bound by the law and by the scope of its authority described in its impaneling order; the

order in that case authorized a criminal investigation. Id. As this Court has previously found, the

SPGJ in this case was requested by the District Attorney, impaneled specifically to investigate

criminal activity, and authorized to provide recommendations for criminal charges. All of this

comported with the clear language of the statute authorizing investigations into any alleged

violation of Georgia law.

       In response, the Movants cite only the arguments of prospective SPGJ witnesses who

moved to quash their SPGJ subpoenas. They cite to In re Jacki L. Pick, WR-94, 066-01 (Tex. App.

2022), involving witness Jacki Pick's motion to quash her out-of-state subpoena in Texas, as well

as efforts by Governor Brian Kemp and Senator Lindsey Graham to have their subpoenas quashed

on grounds of sovereign immunity. Not one of these efforts produced a decision on the merits

declaring that SPGJs are necessarily civil rather than criminal. Ms. Pick's subpoena was quashed

on procedural grounds, and the concurring opinions attached to the decision in her case likely say

more about the application of the law in Texas than they do in Georgia. This is because In re Pick

was the only case where any judge expressed opinions that Georgia's SPGJ investigations might

only be civil rather than criminal in nature. Every other court, in multiple states, which opined




                                                  8
     Case 1:23-cv-03721-SCJ Document 1-169 Filed 08/21/23 Page 10 of 25




upon the nature of the SPGJ determined that it was conducting a criminal investigation and

authorized to summons witnesses under the Uniform Act to Secure the Attendance of Witnesses

from Without the State. See O.C.G.A. § 24-13-90 et seq. Such unanimity indicates clarity rather

than unconstitutional vagueness of some kind. Additionally, neither Governor Kemp nor Senator

Graham were successful in their attempts to persuade courts that the SPGJ was civil; this Court

determined the investigation was clearly criminal, and the Northern District of Georgia dismissed

Senator Graham's arguments as "unpersuasive and unavailing." See In re Jury, 2022 U.S. Dist.

LEXIS 146741, *20-21. To the-extent that any conclusion can be drawn from the litigation arising

from this matter, it is not that the statutes are too vague in determining whether a SPGJ can be of

a criminal nature.

       The Movants .also assert that the statutes are impermissibly vague regarding the creation,

contents, and release of the SPGJ's final report. However, the statutes articulate requirements for

the final report which negate any suggestion of impermissible vagueness or possible violations of

due process. A SPGJ' s final report must indicate that it has completed the investigation authorized

in its impaneling order, and it must do so to the satisfaction of the supervising judge and a majority

of the jurisdiction's Superior Court bench. See O.C.G.A. § 15-12-I0l(b). Again, this means that a

SPGJ's authority to craft the report is broad, but it does not follow that it is unconstitutionally

vague, and the requirement that not one but several judges must approve the dissolution of a SPGJ

ensures that fundamental fairness is maintained. While the statute is flexible (a necessity, given

the broad mandate afforded to grand juries), it does not contain an "insufficient objective standards

and guidelines to meet the requirements of due process." Jekyll Island State Park Civic Auth. V.

Jekyll Island Citizens Ass'n., 266 Ga. 152, 153 (1996).

       C. As Applied




                                                  9
     Case 1:23-cv-03721-SCJ Document 1-169 Filed 08/21/23 Page 11 of 25




       Finally, the Movants argue that the statutes governing SPGJs are unconstitutional as

applied in this case. These arguments all involve the rights of witnesses who might come before

the SPGJ, so again, the Movants lack standing to challenge the statutes on such a basis. In any

event, the application of the statutes in this matter does not demonstrate a constitutional deficiency

of any kind.

       In making this argument, the Movants first turn again to their insistence that the SPGJ can

only be civil in nature. They cite Kenerly v. State, 311 Ga. App. 190 (2011) and State v. Bartel,

223 Ga. App. 696 (1996) and attempt to demonstrate that this Court's prior rulings distinguishing

Kenerly and Bartel from the present matter were made in error. Mtn. at 22-23. The problem for

their argument remains that Kenerly mischaracterizes the holding in Bartel and that nowhere does

Bartel indicate that SPGJs can conduct only civil investigations. This is precisely what this Court

previously found. See Mtn. Exhibit 10 at 3-4. To hold otherwise would be to determine that SPGJs

are empowered to conduct investigations of alleged crimes, but only as civil bodies. Such an

interpretation makes no sense.

       Movants additionally argue that the statutes are unconstitutional as applied because, in

finding that the SPGJ was a criminal body, this Court authorized it to subpoena out-of-state

witnesses. This argument is unavailing because the SPGJ was clearly criminal in nature, but also

because there can be no due process concerns whatsoever. Witnesses subpoenaed from out of state

had their subpoenas reviewed by two separate courts, including one in their home jurisdiction. If

summoned, they were then able to invoke the Fifth Amendment or consult with an attorney at any

time. Where the various requirements of the Uniform Act were followed (and Movant does not

contend otherwise), there can be no due process violation to any out-of-state witness, much less to

non-witnesses such as the Movants.




                                                 10
     Case 1:23-cv-03721-SCJ Document 1-169 Filed 08/21/23 Page 12 of 25




          Finally, the Movants argue that the statutes were unconstitutional as applied because some

individuals were named as "targets" of the SPGJ investigation and because witnesses' Fifth

Amendment rights were insufficiently protected. These arguments are unpersuasive because the

term "target" has no constitutional significance in Georgia. The Supreme Court has held that a

"target" can be summoned to a SPGJ so long as they are afforded the right to invoke the Fifth

Amendment as any witness would. Lampl, 296 Ga. at 298-99. The Movants' arguments as to the

status of"targets" thus cannot demonstrate a constitutional problem. Regarding the application of

the Fifth Amendment in the SGPJ, the Movants provide only suppositions, as is discussed below,

and certainly nothing demonstrating an injury to either of them.

          The Movants provide a litany of arguments but cannot connect them to an actual injury,

actual vagueness, or actual as-applied constitutional issues. As a result, their arguments must fail,

and this Court should dismiss or deny their Motions as appropriate.

   III.      The Movants fail to demonstrate that the District Attorney's Office shonld be
             disqualified because they either repeat prior unsuccessful arguments, submit
             inadequate grounds for disqualification under Georgia law, or ask this Court to
             adopt inapplicable standards.
          The Movants next argue that the FCDAO "must be recused, disqualified, and prevented

from any further investigation or prosecution of this matter." Mtn. at 31. This severe remedy is

required, Movants insist, for three reasons: the Supervising Judge should have disqnalified the

FCDAO in July of 2022; the District Attorney has committed "forensic misconduct" by making

public comments related to the investigation; and three of the District Attorney's social media

posts on Twitter have created an "appearance of impropriety" severe enough to require

disqualification. The Movants' arguments are untimely, improperly brought, and without merit,

and they should be dismissed or denied as appropriate.




                                                 11
     Case 1:23-cv-03721-SCJ Document 1-169 Filed 08/21/23 Page 13 of 25




        To begin with the untimeliness of the Movants' arguments, the Motion cites to hearings,

statements, and social media posts made months or even years ago, in some instances referencing

comments made before the SPGJ had even been impaneled. See Mtn. at 3 8 fn.24. And yet, as noted

above, Mr. Trump asserts that he has been "inextricably intertwined with this investigation since

its inception" in early 2021, also observing that he participated in the event which precipitated the

investigation, a phone call in January of 2021. Mtn. at 11. By his own estimation, Mr. Trump has

been at the center of an investigation which has progressed for over two years, but only now is he

moving for the prosecutor's disqualification. To the extent that Mrs. Latham's arguments

regarding disqualification are not barred by res judicata (discussed below), her remaining

arguments are untimely as well.

       If any of the elements put forward by Mr. Trump in his Motion (the disqualification of the

FCDAO regarding Burt Jones in July of 2022, the District Attorney's statements to the media in

2021 and 2022, or the "appearance of impropriety" created by Twitter posts in July of 2022) were

the egregious grounds for disqualification which he asserts they are, he had a duty .to raise them to

the Court's attention as soon as he learned of them. "Altho,ugh we have not considered when a

motion to disqualify a prosecutor based on an alleged conflict of interest should be asserted, we

have held, in other contexts, that such challenges must be raised promptly after the defendant I earns

of a potentially disqualifying matter." Reedv. State, 314 Ga. 534, 546 (4) (2022). The objection

must be raised "without delay, at the first opportunity after the accused learns of the grounds for

disqualification." Id. (quoting Hudson v. State, 250 Ga. 479,481 (1) (1983)).

       Far from raising this issue promptly, Mr. Trump has waited years, until after the conclusion

of an entire SPGJ investigation, when the FCDAO's own investigation has moved into its latter

stages. Mr. Trump could have pursued the disqualification of the FCDAO in February of 2021,




                                                 12
     Case 1:23-cv-03721-SCJ Document 1-169 Filed 08/21/23 Page 14 of 25




after the District Attorney made certain comments to which he now objects (Mtn. at 38 fn.24), but

he did not. He also did not do so when the District Attorney requested the impanelment of the

SPGJ, or when the order creating the SPGJ was issued. He might have sought disqualification as

the SPGJ pursued its investigation with the assistance of the FCDAO, but he did not then either.

Mr. Trump did not argue for disqualification when Burt Jones did in the summer of 2022, nor did

he do so when a group of alternate electors (including Mrs. Latham) requested reconsideration of

the denial of their own disqualification motion shortly afterward. Mr. Trump remained silent on

this matter when the Supervising Judge announced the dissolution of the SPGJ, and he chose not

to even attempt to participate in the litigation surrounding the possible publication of the SPGJ' s

final report. Mr. Trump elected to pursue the disqualification of this office only after the FCDAO

announced an investigation in early 2021, pursued it for months, requested the SPGJ in early 2022,

impaneled and advised the SPGJ for the remainder of the year, received its report in early 2023,

and began to litigate the possibility of the report's release. At this latter stage, and after all of these

events occurred without action by Mr. Trump, he now seeks to prevent the FCDAO from "any

further investigation or prosecution of this matter." His request for disqualification should

therefore be dismissed as untimely.

        Mrs. Latham, having adopted Mr. Trump's Motion, is now attempting, for a third time, to

disqualify the FCDAO from investigating her. Along with several other alternate electors, she

joined Burt Jones's motion for disqualification in July 2022, which was denied as to her (see Mtn.,

Exhibit 4), and she then filed a motion for reconsideration in August of 2022, which was also

denied (see Mtn., Exhibit 13). To the extent that Mrs. Latham, having adopted Mr. Trump's

arguments regarding disqualification, relies upon facts which should have been known to her prior

to the filing of her motion for reconsideration in August of 2022, her arguments are untimely. To




                                                    13
     Case 1:23-cv-03721-SCJ Document 1-169 Filed 08/21/23 Page 15 of 25




the extent that, in adopting Mr. Trump's Motion, she merely restates her prior arguments, she is

barred from raising them again by the doctrine of res judicata. 7

        If any purported grounds for disqualification remain after dismissing those which are

untimely or barred by res judicata, the Movant' s arguments concerning them lack sufficient merit.

The Movants first insist that this Court erred when, even as it disqualified the FCDAO from

investigating or otherwise prosecuting Burt Jones in 2022, it did not also disqualify the FCDAO

from the entire investigation. In its July 2022 Order, this Court explained the focused and specific

analysis required under Georgia law when evaluating motions for disqualification; such motions

can be based only upon a conflict of interest or "forensic misconduct" relating to public statements,

either of which must have a direct relationship to a specific individual. See Williams v. State, 258

Ga. 305, 314 (2)(B) (1988). In arguing that disqualification should extend instead to an entire

matter or investigation, the Movants rely extensively upon a single Supreme Court case, Young v.

United States ex rel. Vuitton Et Fil S.A. et al, 481 U.S. 787 (1987). This case, however, is

inapposite. Young involved a contempt case stemming from private litigation between two parties.

The trial court in Young appointed the attorneys for the plaintiff to act as special prosecutors for a

criminal contempt action against the defendants for activities arising directly from the private

litigation. Id at 791-92. These "special prosecutors" had an obvious and pervasive conflict of

interest from the very inception of the contempt case, which led the Supreme Court to hold that

"counsel for a party that is the beneficiary of a court order may not be appointed as prosecutor in

a contempt action alleging a violation of that order." Id. at 809.




7 See O.C.G.A. § 9-12-40: "A judgment of a court of competent jurisdiction       shall be conclusive
between the same parties and their privies as to all matters put in issue or which under the rules of
law might have been put in issue in the cause wherein the judgment was rendered until the
judgment is reversed or set aside."


                                                 14
     Case 1:23-cv-03721-SCJ Document 1-169 Filed 08/21/23 Page 16 of 25




        Obviously, such circumstances are not present in this case. Any reliance upon Young for

the contention that disqualification applies to entire matters or investigations rather than individual

defendants is misplaced. When this Court entered its order disqualifying the FCDAO from

investigating Burt Jones, its analysis turned on the nature of the District Attorney's relationship to

Mr. Jones specifically and explicitly rejected any claims that the District Attorney had a broader

conflict of interest that might have applied to Mrs. Latham (and by extension, Mr. Trump or

others). In Young, the special prosecutors had an inarguable conflict of interest that necessarily

pervaded the entire case, including the facts giving rise to the actual criminal charges at issue. As

it stands, nothing in Young indicates that Georgia's existing framework for the disqualification of

prosecutors is inadequate or was incorrectly applied by this Court previously. The facts have not

changed, and they still do not support the attribution of a finding of conflict of interest as to one

individual to every other individual with some relation to the events surrounding the 2020

elections. Because the Movants rely solely upon Young, their arguments that this Court erred in its

initial rulings on disqualification must fail.

       The Movants also assert that the District Attorney has engaged in "forensic misconduct"

by making statements to the media about the investigation. As noted above, forensic misconduct

is one of the two generally recognized grounds for the disqualification of prosecutors. The only

described example of forensic misconduct is "the improper expression by the prosecuting attorney

of his personal belief in the defendant's guilt." Williams, 258 Ga. at 315. It is an exceedingly rare

claim; Williams appears to be the only Georgia case discussing forensic misconduct in any depth.

In Williams, the Georgia Supreme Court adopted a stringent and specific standard fqr evaluating

claims of forensic misconduct: "[i]n determining whether an improper statement of the prosecutor

as to the defendant's guilt requires his disqualification, the courts have taken into consideration




                                                  15
      Case 1:23-cv-03721-SCJ Document 1-169 Filed 08/21/23 Page 17 of 25




whether such remarks were part of a calculated plan evincing a design to prejudice the defendant

in the minds of the jurors, or whether such remarks were inadvertent, albeit improper, utterances."

Id.

        Two obstacles to the Movants' claims are immediately apparent under this standard: the

statements to which they cite do not concern the Movants' guilt, and no jury exists in this case.

Nearly every one of the statements contained in Exhibit 5 of the Motion are conditional, vague,

comments regarding "allegations," or general statements about the investigation and the reason for

its pursuit. The one statement which does directly address the District Attorney's opinion of Mr.

Trump's culpability indicates the direct opposite of forensic misconduct: "FCDA said she has yet

to make up her mind about whether the former president or his advocates broke the law and

reiterates that she will treat President Trump like anyone else who crosses her desk." See Mtn.,

Exhibit 5 at no. 23.

        Even if this Court were to determine that there were some statement from the District

Attorney that could be considered improper, which was timely objected to and not subject to res

judicata, the Movants have not (and cannot) show the sort of pervasive misconduct required for

disqualification. The examples provided in Williams indicate the sort of egregious conduct

required for such a showing. The opinion refers to a Vermont case where a prosecutor was

disqualified for publicly pledging during a reelection campaign to secure a conviction against a

defendant. See id. at 315 n.4; Vermont v. Hohman, 420 A2d 852 (Vt. 1980). In Williams, the

prosecutor flatly stated his opinion of the defendant's guilt, making a series of comments that

culminated with, "In my opinion, therefore, there is substantial reason to believe Mr. Williams is

guilty of the offense charged." 258 Ga. at 310. Even then, the Supreme Court held that it was

"quite clear" that the prosecutor's comments were "not of such egregious nature as to require




                                                16
     Case 1:23-cv-03721-SCJ Document 1-169 Filed 08/21/23 Page 18 of 25




disqualification." Id. at 315.8 Disqualification for forensic misconduct in Georgia is only warranted

by remarks which speak directly to the prosecutor's opinion of a defendant's guilt and which are

part of a calculated plan designed to prejudice a jury against that defendant, and such remarks

~ust be egregious. Even if a jury existed in this case, there is absolutely no indication of any such

comments, or any such plan, in the present matter.

       The Movants' final argument regarding disqualification moves past the standard for

disqualification under Georgia law and asks that this Court create a new one. The Movants point

to three of the District Attorney's social media posts on Twitter, all made in July of 2022, and

argue that these posts, in combination with their prior arguments, create an "appearance of

impropriety." Mtn. at 41. That appearance of impropriety in tum "creates a conflict." Mtn. at 43.

       The Movants' arguments on this last point fail for at least three reasons. First, their

reasoning is backward. The "appearance of impropriety" does not create conflict; conflict creates

the appearance of impropriety. "[A]ppointment of an interested prosecutor creates an appearance

of impropriety that diminishes faith in the fairness of the criminal justice system in general."

Young, 481 U.S. at 811 (emphasis added). Second, the Movants' argument seeks to import the

"appearance of impropriety" standard for judicial recusal into the possible disqualification of

prosecutors. See Rule 1.2, Code of Judicial Conduct (Judges must avoid "impropriety and the

appearance of impropriety"). However, the standards for prosecutors and judges cannot be

conflated, and courts have intentionally avoided doing so.

        [B]ecause of their differing roles and responsibilities, the neutrality required of a
       judge is necessarily of a higher degree than that required of a prosecutor. While the


8
 As an example of the sort of "egregious" behavior or plan contemplated by the term "forensic
misconduct," the Williams opinion then cites to Pierce v. United States, 86 F.2d 949 (6th Cir.
1936), a case that involved repeated improper comments before a trial jury in "what appears to
have been a studied effort to inject into the case irrelevant and prejudicial matter for the purpose
of influencing the verdict, and its continued repetition after adverse rulings." Id. at 953.


                                                 17
     Case 1:23-cv-03721-SCJ Document 1-169 Filed 08/21/23 Page 19 of 25




         prosecuting officer should see that no unfair advantage is taken of the accused, yet
         he is not a judicial officer. Those who are required to exercise judicial functions in
         the case are the judge and jury. The public prosecutor is necessarily a partisan in
         the case. Ifhe were compelled to proceed with the same circumspection as the judge
         and jury, there would be an end to the conviction of criminals.

Whitworth v. State, 275 Ga. App. 790, 793 (2005) (citations omitted). See also Young, 481 U.S. at

810-11 ("It is true that we have indicated that the standards of neutrality for prosecutors are not

necessarily as stringent as those applicable to judicial or quasi-judicial officers," and such

standards apply to "whether a conflict is found" in the first place) (emphasis in original). Finally,

the social media activity specified by the Movants is simply not disqualifying behavior, a reality

which the Movants themselves acknowledge. See Mtn. at 42 (the posts "if standing alone, might

not be sufficient for disqualification"). The Twitter activity consisted of one retweet of a political

cartoon (which involved neither Movant) and two tweets thanking an individual for two tweets of

his own, each of which called for more Twitter users to follow the District Attorney. The Movants

acknowledge that these facts are so innocuous that they must be considered "in combination" with,

again, this Court's ruling regarding Burt Jones. This argument, then, is an extension of the

Movants' prior argument: that the Court's ruling regarding Mr. Jones should be applied to the

entire investigation, as well as the social media activity of the District Attorney.

         In light of the foregoing, the FCDAO respectfully ask that this Court dismiss or deny the

Movants' Motion for disqualification of the FCDAO. The arguments are largely untimely or barred

by res judicata, and any that survive dismissal fail to demonstrate adequate grounds for

disqualification of prosecutors under Georgia Jaw.

   IV.      The Movants fail to demonstrate how the SPGJ was "tainted" or how they have
            suffered any injury to their due process rights as a result.

         The Movants next claim that public comments made by several former grand jurors

demonstrate that the SPGJ was "tainted" by "improper influences," "inaccurate instructions," and



                                                  18
     Case 1:23-cv-03721-SCJ Document 1-169 Filed 08/21/23 Page 20 of 25




"unconstitutional inferences." Mtn. at 43. These apparent improprieties thus demand that this

Court "suppress" the SPGJ' s report because otherwise, "named individuals" will suffer violation

of their due process rights. These arguments are also without merit or a basis in the law.

        The Motion does not clarify how "improper outside sources" could have tainted the SPGJ

process, perhaps because it is not clear what "improper outside sources" could mean in the grand

jury context. It is a basic tenet of grand jury jurisprudence that "the grand jury generally is entitled

to act upon its own information, however acquired." Isaacs v. State, 259 Ga. 717, 719 (2) (1989)

(citing Groves v. State, 73 Ga. 205 (1884)). Grand jurors are empowered to undertake

investigations on their own initiative and have a statutory duty to "examine or make presentments

of such offenses as may or shall come to their knowledge" either before or after they are sworn.

O.C.G.A. § 15-12-74; see Brown v. State, 295 Ga. 240, 241-242 (2014). This would be impossible

if grand jurors could somehow be "tainted" by information which originated outside the grand jury

room. The Movants argue that the grand jurors were aware of"extraneous" information which was

"beyond their purview," but they do not indicate how or why this is so. The Movants thus

demonstrate only that the grand jurors were aware of "outside" information, not that such sources

of information were somehow "improper."

        As to the Movants' arguments regarding the Fifth Amendment, the Movants do not show

or even argue that the grand jury was not instructed on the importance of a witness's right against

self-incrimination. The Movants also do not show how either of them have standing to raise any

challenge related to the Fifth Amendment rights of witnesses before the SPGJ. They merely argue

that, based on a smattering of comments from the former grand jurors, any instruction must have

been inadequate. The Movants acknowledge that, in an interview after the discharge of the grand

jury, a grand juror indicated that prosecutors "repeatedly" told the grand jury that a witness's




                                                  19
     Case 1:23-cv-03721-SCJ Document 1-169 Filed 08/21/23 Page 21 of 25




invocation of his or her Fifth Amendment rights could not be seen "as an admission of guilt." Mtn.

at 46. The grand juror went on to state that prosecutors "were very passionate about saying: 'I need

you to understand that."' See Mtn., Exhibit 8 no. 11.

        The Movants insist that these comments demonstrate that any instruction regarding the

Fifth Amendment must have been "inadequate on its face." Relying exclusively on Barnes v. State,

335 Ga. App. 709 (2016), they argue that the SPGJ was tainted by misunderstanding and that they

should have been instructed that they could not draw "any inference" from a witness's silence,

rather than merely an inference of guilt. Mtn. at 46-47. This attempt to split hairs fails, not least of

all because it misapplies the holding in Barnes. That case involved a trial court's failure to instruct

a trial jury that it could not "consider in any way" a defendant's decision not to take the stand in

his own trial. Notably, the Court of Appeals in Barnes approved of the pre-trial instruction that

"the defendant had the absolute right to remain silent and the jury was not permitted to draw any

inference of guilt from his exercise of that right," but said that the trial court erred because "those

instructions did not specifically address the issue of Barnes's testimony at trial." Id. at 712

(emphasis added). In the present investigation, there is no defendant, no trial, no trial jury, and no

scenario where a defendant opts not to testify. Instead, there are grand jurors whom the Movants

acknowledge were instructed "repeatedly" not to infer guilt from a witness's assertion of rights.

On their own terms, the Movants' arguments fail to demonstrate any inadequacies, much less any

that irrevocably "tainted" the SPGJ.

       The Movants cannot show that the grand jury was "tainted" by "improper" outside

information or inadequate instructions regarding the Fifth Amendment. They do not indicate how

outside information can be improper for a grand jury to perceive. They do not indicate how they

have standing to address the Fifth Amendment rights of others, how the statements contained in




                                                  20
     Case 1:23-cv-03721-SCJ Document 1-169 Filed 08/21/23 Page 22 of 25




their own motion indicate some inadequacy, or how the Barnes case is applicable in this context.

Finally, aside from general references to "fundamental fairness," they do not clarify how the

handling of witnesses' Fifth Amendment concerns actually gives rise to a violation of their own

due process rights. For all these reasons, their arguments are without merit.

    V.        The Movants are not entitled to injunctive relief.

         Mrs. Latham's Motion also prays that this Court grant her injunctive relief. She requests

that the SPGJ's report be quashed and that the FCDAO be disqualified, mirroring Mr. Trump's

Motion, but her added request for an injunction is more expansive. Mrs. Latham insists that such

an injunction should reach far beyond the FCDAO, the SPGJ, or the report; the injunction should

prohibit the FCDAO "or any other prosecuting arm of the State" from using "any evidence

presented to the SPGJ in any future grand jury or legal proceeding." Latham Mtn. at 2 (emphasis

added). The injunction would require that "any and every state entity be enjoined from presenting •

or utilizing any evidence or testimony derived by the SPGJ." Latham Mtn. at 5. In sum, Mrs.

Latham asks this Court to eliminate the report, disqualify the FCDAO, and prevent any other

representative of the people of this State from using any evidence even presented to the SPGJ, in

perpetuity.

         This Court must dismiss Mrs. Latham's request for relief because it is plainly without the

power to grant it. O.C.G.A. § 9-5-2 states that "Equity will take no part in the administration of

the criminal law. It will neither aid criminal courts in the exercise of their jurisdiction, nor will it

restrain or obstruct them." Injunctions of criminal investigations are simply not allowed. This

prohibition is explicit, and yet O.C.G.A. § 9-5-2 is not mentioned anywhere in Mrs. Latham's

Motion. Because her requested relief is not legal and entirely without merit, this Court must

dismiss it.




                                                  21
     Case 1:23-cv-03721-SCJ Document 1-169 Filed 08/21/23 Page 23 of 25




       While Mrs. Latham's Motion is entirely without a basis in the law, it is at least explicit in

what it actually seeks. Mrs. Latham asks that this Court "restrain or obstruct" not one criminal

investigation, but any criminal investigation. She requests that not one prosecutor be enjoined, but

all prosecutors. In so doing, she notes that her requested relief is identical to that requested by Mr.

Trump in his own Motion: "Both motions seek to enjoin the publication or use of the of the SPGJ

Report and to preclude any State prosecuting agency from presenting or utilizing any evidence or

testimony derived by the SPGJ." Latham Mtn. at 1. While Mr. Trump's Motion avoids use of the

words "enjoin" or "injunction," its procedural awkwardness is belied by the succession of standing

and timeliness issues it presents. Functionally, it seeks a single, sweeping remedy, which is the

elimination of the SPGJ' s report and any investigation tied to the SPGJ' s operation, explicitly or

implicitly. In Mrs. Latham's own estimation, what Mr. Trump's Motion seeks is an injunction.

       The Movants cannot succeed because their requested remedies have no basis in the law

and in fact fly in the face of the orderly administration of the laws of the State of Georgia. If an

investigation results in actual criminal charges against the Movants, the justice system ensures

they will have no shortage of available remedies to pursue. The general rule set out in O.C.G.A. §

9-5-2 that equity will "take no part in" the operation of criminal law

       is based upon the principle that equity is intended to supplement, and not usurp, the
       functions of courts of law, and that to sustain a bill in equity to restrain or relieve
       against proceedings for the punishment of offenses would constitute an invasion of
       the courts of law; and on the fact that the party has an adequate remedy at law by
       establishing as a defense to the prosecution that he did not commit the act charged,
       or that the statute on which the prosecution is based is invalid, and, in case of
       conviction, by taking an appeal.

Hodges v. State Revenue Com., 183 Ga. 832, 833 (I) (1937). The Movants are not content to follow

the ordinary course of the law. They seek to "restrain" a criminal investigation before any charges

are filed or even sought; they ask that the judicial system place them above and apart from the

common administration of the criminal law; and they do so by raising arguments for which they


                                                  22
     Case 1:23-cv-03721-SCJ Document 1-169 Filed 08/21/23 Page 24 of 25




have no standing, or which they failed to timely join, or which they have already failed, or which

have no basis in law at all.

        The FCDAO respectfully requests that, for all these reasons, the Motions presented by Mr.

Trump and Mrs. Latham be denied or dismissed as appropriate.

        WHEREFORE, the State of Georgia, by and through Fani T. Willis, District Attorney,

Atlanta Judicial Circuit, Fulton County, Georgia, prays that this Honorable Court dismiss or deny

the instant Motions on the basis of the papers.

        Respectfully submitted this the 15th day of May, 2023,




                                                       Ga. Bar No. 223955
                                                       Atlanta Judicial Circuit
                                                       136 Pryor Street Southwest
                                                       Third Floor
                                                       Atlanta, Georgia 30303




                                                        . McDonal Wakeford
                                                                                                            , ">


                                                                                         5~~•
                                                                                           ./
                                                       Chief Sehior Assistant District Attorney
                                                       Ga. Bar No. 414898                      ,e_°'j.fi'l'L
                                                                                                       J/
                                                       Atlanta Judicial Circuit                           , • . -i"
                                                       136 Pryor Street Southwest
                                                       Third Floor                                \
                                                       Atlanta, Georgia 30303                  2__}   .




                                                  23
    Case 1:23-cv-03721-SCJ Document 1-169 Filed 08/21/23 Page 25 of 25




                                       Certificate of Service
I hereby certify that on this 15th day of May 2023, a true copy of this Response was delivered to
the following persons by electronic mail: Drew Findling, Jennifer L. Little, and Kieran J.
Shanahan, attorneys for the movants.




                                                     """"'• •"-!!J''--''--'IS
                                              ...____..-DISTRICT  ATTORNEY
                                                     Ga. Bar No. 223955
                                                     Atlanta Judicial Circuit
                                                     136 Pryor Street Southwest
                                                     Third Floor
                                                     Atlanta, Georgia 30303




                                                24
